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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




    EMMA SAGASTUME,                        CV 20-6624 DSF (GJSx)
    individually, and on behalf of other
    members of the general public          Order DENYING Motion to
    similarly situated,                    Remand (Dkt. No. 17)
          Plaintiff,

                     v.

    PSYCHEMEDICS
    CORPORATION, etc., et al,
        Defendants.



       Defendant removed this case based on CAFA jurisdiction. Plaintiff
    move for remand. The Court deems this matter appropriate for
    decision without oral argument. See Fed. R. Civ. P. 78; Local Rule 7-
    15. The hearing set for September 28, 2020 is removed from the
    Court’s calendar.

       This is a wage-and-hour case alleging unpaid overtime, a failure to
    provide meal and rest breaks, and other related claims. Plaintiff
    challenges Defendant’s assumptions about violation rates and the
    evidence provided by Defendant regarding the number of potential
    class members, the hours worked by the potential class members, and
    the number of total pay periods applicable to the case.

       The Court finds that the evidence – a summary of business records
    provided by a knowledgeable employee of Defendant – is sufficient for
    the purposes of removal and this motion.
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       The Court is further satisfied that the violation assumptions made
    by Defendant are reasonable. Defendant assumes 1.5 hours of
    unworked overtime per week, a 40% meal and rest break violation rate,
    waiting time for all separated class members, and a maximum wage
    statement penalty. The overtime, meal, and rest break assumptions
    are reasonable given the extremely vague allegations in the complaint
    and if those violations are alleged, it is reasonable to assume that all
    employees are alleged to have received incorrect wage statements and
    not to have been paid in full on separation. The 25% addition for
    attorney’s fees is also reasonable for a case of this type. In fact, it is the
    Ninth Circuit’s benchmark and plaintiffs’ counsel requests a higher
    percentage more often than a lower one. Plaintiff cannot assert
    extremely broad and vague allegations and then take issue with
    reasonable conclusions about the amount and controversy that can be
    drawn from those allegations.

       The motion to remand is DENIED.

       IT IS SO ORDERED.



    Date: September 18, 2020               ___________________________
                                           Dale S. Fischer
                                           United States District Judge




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